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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                       :
                                                :
      v.                                        : No. 1:21-cr-00447-CJN-03
                                                :
JOSHUA CHRISTOPHER DOOLIN,                      :
    et al.                                      :


     CORRECTED DEFENDANT JOSHUA CHRISTOPHER DOOLIN’S
         SUPPLEMENT TO THE MOTION FOR SEVERANCE
       OF DEFENDANTS PURSUANT TO FED. R. CRIM. P. 14(a).

      COMES NOW Defendant, Joshua Christopher Doolin, by and through

undersigned counsel, and hereby files this corrected supplement to his motion for

severance. (Doc. 176)

      1.      On January 20, 2023, Judge Amit P. Mehta of this Court ordered a

separate trial for a pro se defendant in United States v. James Beeks, 21-cr-00028-

APM-19. Undersigned counsel has recently spoken with stand-by counsel for

defendant Beeks, who informs that one of the reasons a separate trial was ordered

was to avoid potential prejudice to other co-defendants who are proceeding to trial.

      Although a written Order (or a Minute Order) to this effect has not yet been

docketed,1 this Court may consider the reasoning of Judge Mehta (to avoid potential

prejudice to other co-defendants) and similarly order a trial severance for



      1
              As of the date/time of the filing of this Corrected Supplement, the
docket in 21-cr-00028-APM-19 has not been updated to reflect the Court’s
activity on January 20, 2023.

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Mr. Hutchinson – as more fully argued in Mr. Doolin’s Motion for Severance.

(Doc. 176)

                                       Respectfully Submitted,


                                        Allen H. Digitally signed by
                                                 Allen H. Orenberg

                                        Orenberg Date: 2023.01.23
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                                       ____________________________
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                                       aorenberg@orenberglaw.com
                                       Counsel for Mr. Joshua C. Doolin


Dated: January 23, 2023

                          CERTIFICATE OF SERVICE

      I hereby certify that on the 23rd day of January, 2023, copies of the foregoing

Corrected Supplement to the Motion for Severance (Doc. 176) were served to case

registered parties by CM/ECF and by direct e-mail to Joseph D. Hutchinson:

josephhutchinson@fastmail.com.


                                      Allen H. Digitally signed by
                                               Allen H. Orenberg

                                      Orenberg Date: 2023.01.23
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                                       ____________________________
                                       Allen H. Orenberg, # 395519




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